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Lai! J, KELLY ATE
United States District Judge
i] il 23

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ) Case No. 1:21-CR-175-TJK

V.

)
)
ETHAN NORDEAN, et al. )
)

Defendants
WITNESS HENDRICK BLOCK’S MOTION FOR LEAVE TO FILE A MOTION

COMES NOW Mr. Block by Gregory B. English, his court-appointed attorney,
and asks this court to allow him to file the motion filed today entitled Hendrick
Block’s Motion to Quash Subpoena. A draft order implementing this request is

attached for the court to consider.

Respectfully submitted,

/signed by/
Gregory B. English, DC Bar #398564
The English Law Firm, PLLC
601 King Street, Suite 406
Alexandria, Virginia 22314
(703) 739-1368/Fax (703) 836-6842
gbeuva@gmail.com
Counsel for the Defendant

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Certificate of Service

| hereby certify that on the 18th day of January, 2023, | filed the foregoing
motion with the Clerk of the Court using the CM/ECF system, which will send a
notification of such filing (NEF) to the following CM/ECF user(s):

AUSA Erik Kenerson
Via ECF to Erik.Kenerson@usdoj.gov

/signed by/
Gregory B. English, DC Bar #398564
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